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 8                                     UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      Case No. 1:15-cr-00304-DAD-BAM-1
12                        Plaintiff,
13          v.                                      ORDER OF RELEASE
14   ARNOLDO MARTINEZ-TINOCO,
15                        Defendant.
16

17          The above named defendant having been sentenced on January 4, 2017, to 10 months

18   (TIME SERVED), the defendant shall be released FORTHWITH. A judgment and commitment

19   order will follow.

20   IT IS SO ORDERED.
21
        Dated:     January 4, 2017
22                                                      UNITED STATES DISTRICT JUDGE

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